{¶ 25} I concur in the majority decision to reject appellant's constitutional claims pursuant to our precedent in In re Adrian R.
However, I write separately to clarify that although I cannot conclude appellant has overcome the presumption of constitutionality afforded to legislative enactments (see, e.g., State v. Anderson (1991),57 Ohio St.3d 168, 171, 566 N.E.2d 1224), I question the trend of statutorily diluting case-by-case sexual offender analyses by juvenile courts. As appellant notes, the Ohio Supreme Court in In re Agler (1969),19 Ohio St.2d 70, 73, recognized that civil disabilities ordinarily following convictions do not attach to children. I would encourage the General Assembly to re-evaluate whether the S.B. 10 approach to these difficult types of cases is warranted for juveniles. *Page 10 
                             JUDGMENT ENTRY
For the reasons stated in our accompanying Memorandum-Opinion, the decision of the Stark County Court of Common Pleas, Juvenile Division, is affirmed. Costs to Appellant. *Page 1 